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       CHASEO                                                                                  August 31, 2019through September 30, 2019
                                                                                               Account Number:




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1 866 564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •      Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you b.elieve it is an error, or why you need more information.
We will I1]1/esligate your complaint and will correct any error promptly. If we lake more than 10 business days (or 20 business days for new
accou11ls) to do this, we will credit your account for the amount you think is In error so that you wlll have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank Immediately If your statement is
Incorrect or lf you need more Information about any non-electronic transactions (checks or deposits) on this statement. rr any such error appears,
�ou must notify the bank in writing no later than 30 days after the statement was made available 10 you. For more complete details, see the
Aecount Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDIC

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